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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION

 UNITED STATES OF AMERICA,                     CR 16-12-BLG-SPW

                          Plaintiff,
                                               AMENDED FINAL ORDER
              vs.                              OF FORFEITURE


  NOEL MCDERMOTT MORRIS,

                          Defendant.


      Whereas, in the indictment in the above-captioned case, the United States

sought forfeiture, pursuant to 21 U.S.C. § 853, of any real or personal property of

the defendant used or intended to be used to facilitate, or as proceeds of said

violations;

      And whereas, on July 28, 2016, Noel McDermott Morris entered into a plea

agreement wherein he agreed to plead guilty to count I of the indictment, which

charged him with conspiracy to possession with intent to distribute


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methamphetamine, and to count IV of the indictment, which charged him with

conspiracy to commit money laundering;

      And whereas, the defendant, pursuant to the plea agreement with the United

States, agreed not to contest, or assist others in contesting, the forfeiture sought in

the charging document to which the defendant pleaded guilty;

      And whereas, by virtue of said guilty pleas, the United States is entitled to

possession of said property, pursuant to 21 U.S.C. §§ 841(a)(l) and 853, and Rule

32.2(b)(2) of the Federal Rules of Criminal Procedure;

      And whereas, beginning on August 5, 2016, and ending on September 3,

2016, the United States published on an official government internet site

(www.forfeiture.gov), notice of this forfeiture and of the United States' intent to

dispose of the property listed below in accordance with federal law, under 21

U.S.C. § 853(n)(l):

      •      a 2010 Dodge Avenger, VIN: 1B3CC4FBSAN194030;

      •      $52,930.00 in United States Currency; and,

      •      real property located at 319 South 30th Street, Billings, Montana,
             59101.

             •      Legal description: Billings original town site, S03, TOI S, R26
                    E, Block 167, Lot 22, (04).




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      And whereas, the Court has been advised that no claims have been made in

this case regarding the property and the United States is not aware that any such

claims have been made;

      ACCORDINGLY, IT IS ORDERED as follows:

      1.   The United States shall seize the forfeited property described above;

      2.   The right, title, and interest in the property is condemned, forfeited, and

vested in the United States of America for disposition according to applicable law;

      3.   All forfeited funds shall be deposited forthwith by the Department of

Treasury into the Treasury Asset Forfeiture Fund in accordance with 21 U.S.C.

§ 853(n)(l ); and

      4.   The Clerk is directed to send copies of this order to all counsel of record

and the defendant.   The Clerk is further directed to send three certified copies of

this order to the United States Marshal.

      DATED this ;iraay of November, 2016.


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                                 SUSANP. WATTERS
                                 United States District Court Judge




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